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ANDREA T. MARTINEZ, United States Attorney (#9313)                        U.S. DISTRICT COURT
JAMIE Z. THOMAS, Assistant United States Attorney (#9420)
Attorneys for the United States of America
Office of the United States Attorney
111 South Main Street, Suite 1800
Salt Lake City, Utah 84111-2176
Telephone: (801) 524-5682


                        IN THE UNITED STATES DISTRICT COURT

                                     DISTRICT OF UTAH


UNITED STATES OF AMERICA,                                   FELONY INFORMATION

                      Plaintiff,                      Count 1: 18 U.S.C. §§ 1344 and 2 (Bank
                                                      Fraud)
       vs.
                                                      Count 2: 18 U.S.C. § 1014 (False
TIMOTHY GIBSON,                                       Statement to a Bank)

                      Defendant.                      Count 3: 18 U.S.C. § 1014 (False
                                                      Statement to a Bank)

                                                                  Case: 2:22−cr−00115
       The United States Attorney alleges:                        Assigned To : Barlow, David
                                                                  Assign. Date : 4/4/2022
                                    I.   BACKGROUND               Description: USA v Gibson
       At all times relevant to this Felony Information:

       1.     Defendant TIMOTHY GIBSON (“GIBSON”) was a resident of Utah.

       2.     GIBSON operated Creative Investment Group LLC and Polaris Investment Group

LLC.

       3.     The United States Small Business Administration (“SBA”) is an executive-branch

agency of the United States federal government that provides support to entrepreneurs and small

businesses. The mission of the SBA is to maintain and strengthen the nation’s economy by

enabling the establishment and viability of small businesses and by assisting in the economic
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recovery of communities after disasters. As part of this effort, the SBA enables and provides for

loans through banks, credit unions and other lenders. These loans have government-backed

guarantees.

       4.      In addition to traditional SBA funding programs, The CARES Act, which was

signed into law in March 2020, established several new temporary programs and provided for the

expansion of others to address the COVID-19 outbreak.

       5.      One of these new programs is the SBA Paycheck Protection Program (PPP), which

is a loan designed to provide a direct incentive for small businesses to keep their workers on the

payroll. Under this program, the SBA will forgive all or part of loans if all employees were kept

on the payroll for eight weeks and borrowers submit documentation confirming that the loan

proceeds were used for payroll, rent, mortgage interest, or utilities.

       6.      Payroll, as defined by the PPP excludes compensation of an individual employee

in excess of an annual salary of $100,000, prorated as necessary.

       7.      Interested applicants apply through an existing SBA lender or any other

participating federally insured financial institution. Borrower requirements include the business

was in operation on February 15, 2020 and either had employees for whom the business paid

salaries and payroll taxes or paid independent contractors as reported on a Form 1099-MISC.

Borrowers are required to submit such documentation as is necessary to establish eligibility such

as payroll processor records, payroll tax filings, or Form 1099-MISC, or income and expenses

from a sole proprietorship.

       8.      The PPP application process requires applicants to submit a Borrower Application

Form through an SBA-approved financial entity. The application contains information as to the

purpose of the loan, average monthly payroll, number of employees and background of the

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business and its owner, including questions relating to criminal history.

                  II.    THE SCHEME AND ARTIFICE TO DEFRAUD

       9.      On or about May 1, 2020 and continuing to at least on or about June 1, 2020, within

the District of Utah and elsewhere,

                                      TIMOTHY GIBSON,

defendant herein, devised and intended to devise a scheme to defraud, and to obtain money and

property by means of materially false and fraudulent pretenses, representations and promises, and

omissions of material facts and did aid and abet therein.

       10.     In executing and attempting to execute the scheme and artifice to defraud, and in

furtherance thereof, defendant GIBSON did:

               a. knowingly make false and fraudulent pretenses, representations, and promises
                  to Mountain America Credit Union, a financial institution within the meaning
                  of 18 U.S.C. § 20, the accounts of which were then insured by the National
                  Credit Union Administration (“NCUA”), and did aid and abet therein; in
                  violation of 18 U.S.C. §§ 1344 and 2 (Bank Fraud); and

               b. knowingly made false statements and caused false statements to be made to
                  financial institutions, in violation of 18 U.S.C. § 1014 (False Statements to a
                  Financial Institution).

  III. MANNER AND MEANS OF THE SCHEME AND ARTIFICE TO DEFRAUD

       11.     In execution and furtherance of the scheme and artifice to defraud, defendant

GIBSON advised approximately 25 of his clients that they could apply for and obtain PPP loans

using false and fraudulent information. Defendant GIBSON and other uncharged coconspirators

caused loan applications to be submitted to financial institutions on behalf of clients that contained

materially false and fraudulent information. Defendant GIBSON told clients they could use PPP

loan proceeds to “grow their business” when in fact, “growing their business” was not an




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authorized use of PPP loan funds.

       12.     On or about May 18, 2020, defendant GIBSON and uncharged coconspirators filled

out and submitted a PPP loan application through MACU on behalf of J.W. and his company 17

Paths LLC.

       13.     In execution and furtherance of the scheme and artifice to defraud, defendant

GIBSON and uncharged conspirators made or caused to be made, one or more of the following

false and fraudulent representations to MACU:

               a. 17 Paths LLC had 7 employees, when in fact, 17 Paths LLC had only 1
                  employee;

               b. 17 Paths LLC had average monthly payroll of $56,000, when in fact, 17 Paths
                  LLC had approximately $5,000 in monthly payroll expenses.

       14.     MACU did not fund the requested PPP loan of $156,000.

                                            Count 1
                                     18 U.S.C. §§ 1344 and 2
                                          (Bank Fraud)

       15.     The allegations in this Felony Information are incorporated by reference and

realleged as though fully set forth herein.

       16.     On or about May 18, 2020, in the District of Utah and elsewhere,

                                      TIMOTHY GIBSON,

defendant herein, did execute and attempt to execute, a scheme and artifice to defraud and to obtain

money by means of false and fraudulent pretenses, representations, and promises, from Mountain

America Credit Union, a financial institutions within the meaning of 18 U.S.C. § 20, the accounts

of which were then insured by the National Credit Union Administration (“NCUA”), by submitting

and causing to be submitted to MACU an online loan application on behalf of 17 Paths LLC

containing materially false information and did aid and abet therein;


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All in violation of 18 U.S.C. §§ 1344 and 2.

                                             Count 2
                                         18 U.S.C. § 1014
                                   (False Statement to a Bank)

       17.     The allegations in this Felony Information are incorporated by reference and

realleged as though fully set forth herein.

       18.     On or about May 11, 2020, in the District of Utah and elsewhere,

                                        TIMOTHY GIBSON,

defendant herein, knowingly made and caused to be made a false statement listed below for the

purpose of influencing the action of Mountain America Credit Union, a financial institution the

deposits of which were then insured by the NCUA, in connection with a PPP loan application for

approximately $166,600, in that defendant GIBSON falsely stated and caused to be falsely stated:

               a. Creative Investment Group LLC had 8 employees, when in fact, Creative
                  Investment Group LLC had only 1 employee;

               b. Creative Investment Group LLC had average monthly payroll expenses of
                  $66,666.67, when in fact, Creative Investment Group LLC had no monthly
                  payroll expenses;

All in violation of 18 U.S.C. § 1014.


                                             Count 3
                                         18 U.S.C. § 1014
                                   (False Statement to a Bank)

       19.     The allegations in this Felony Information are incorporated by reference and

realleged as though fully set forth herein.

       20.     On or about May 11, 2020, in the District of Utah and elsewhere,

                                        TIMOTHY GIBSON,

defendant herein, knowingly made and caused to be made a false statement listed below for the

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purpose of influencing the action of Mountain America Credit Union, a financial institution the

deposits of which were then insured by the NCUA, in connection with a PPP loan application for

approximately $208,300, in that defendant GIBSON falsely stated and caused to be falsely stated:

               a. Polaris Development Group LLC had 10 employees; when in fact, Polaris
                  Development Group LLC had only 1 employee; and

               b. Polaris Development Group LLC had average monthly payroll expenses of
                  approximately $83,333.33, when in fact, Polaris Development Group LLC
                  had no monthly payroll expenses;

All in violation of 18 U.S.C. § 1014.

                       NOTICE OF INTENT TO SEEK FORFEITURE

       Pursuant to 18 U.S.C. § 982(a)(2)(A), upon conviction of any offense violating 18 U.S.C.

§ 1344 or § 1014, the defendant shall forfeit to the United States of America any property

constituting, or derived from, proceeds obtained directly or indirectly, as a result of the scheme to

defraud. The property to be forfeited includes, but is not limited to:

          A money judgment equal to the value of any property not available for forfeiture as a
           result of any act or omission of the defendant for one or more of the reasons listed in
           21 U.S.C. § 853(p).

          Substitute property as allowed by 18 U.S.C. § 982(b) and 21 U.S.C. § 853(p).


                                                      ANDREA T. MARTINEZ
                                                      United States Attorney


                                                      /s/ Jamie Z. Thomas
                                                      JAMIE Z. THOMAS
                                                      Assistant United States Attorney




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